
PER CURIAM.
*667Affirmed . See Dade Cnty. Sch. Bd. v. Radio Station WQBA , 731 So. 2d 638, 644 (Fla. 1999) ("[I]f a trial court reaches the right result, but for the wrong reasons, it will be upheld if there is any basis which would support the judgment in the record."); Fla. Admin. Code R. 1B-24.003(1)(a), General Records Schedule GS-1-SL for State and Local Government Agencies (eff. Aug. 2017) (personnel information for temporary employees must be retained for three fiscal years after any manner of separation or termination of employment).
Affirmed.
Gerber, C.J., May and Conner, JJ., concur.
